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                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

EMMANNUEL KUSI APPIAH,                            Civil No. 3:24-cv-2222

              Petitioner                          (Judge Mariani)

       V.

WARDEN CRAIG LOWE,

              Respondent

                           ➔   ~A         ORDER
       AND NOW, this ~           ky of February, 2025, upon consideration of the petition for

writ of habeas corpus filed pursuant to 28 U.S.C. § 2241 (Doc. 1), and for the reasons set

forth in the accompanying Memorandum, IT IS HEREBY ORDERED THAT:

       1.     The petition for writ of habeas corpus is DENIED without prejudice. (Doc. 1).

       2.     The Clerk of Court is directed to CLOSE this case.




                                          Robert D. Ma. ·ani
                                          United States District Judge
